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   1                        UNITED STATES DISTRICT COURT
   2                       CENTRAL DISTRICT OF CALIFORNIA
   3
       BEVERLY DANTZLER, on behalf of
   4
       herself and all others similarly situated,
   5                                                    Case No. 2:23-cv-10562-SRM (MARx)
                                  Plaintiff,
   6                v.
   7                                                    ______________________
                                                        [AMENDED PROPOSED]
   8   PHH MORTGAGE CORPORATION                         STIPULATED PROTECTIVE ORDER
       d/b/a PHH Mortgage Services.
   9
                                  Defendant.
  10
  11
  12   INTRODUCTION

  13          1.1   PURPOSES AND LIMITATIONS
  14          Discovery in this action is likely to involve production of confidential,
  15   proprietary, or private information for which special protection from public
  16   disclosure and from use for any purpose other than prosecuting this litigation may
  17   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  18   enter the following Stipulated Protective Order. The parties acknowledge that this
  19   Order does not confer blanket protections on all disclosures or responses to
  20   discovery and that the protection it affords from public disclosure and use extends
  21   only to the limited information or items that are entitled to confidential treatment
  22   under the applicable legal principles. The parties further acknowledge, as set forth
  23   in Section 12.3, below, that this Stipulated Protective Order does not entitle them
  24   to file confidential information under seal; Civil Local Rule 79-5 sets forth the
  25   procedures that must be followed and the standards that will be applied when a
  26   party seeks permission from the court to file material under seal.
  27
              1.2   GOOD CAUSE STATEMENT
  28
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   1          This action is likely to involve the exchange of private, trade secret,

   2   commercially or competitively sensitive, and or legally confidential documents for
   3   which special protection from public disclosure and from use for any purpose other
   4   than prosecution of this action is warranted. Such confidential and proprietary
   5   materials and information consist of, among other things, confidential business or
   6   financial information, information regarding confidential business practices, or
   7   other confidential research, development, or commercial information (including
   8   information implicating privacy rights of third parties), information otherwise
   9   generally unavailable to the public, or which may be privileged or otherwise
  10   protected from disclosure under state or federal statutes, court rules, case decisions,
  11   or common law. Accordingly, to expedite the flow of information, to facilitate the
  12   prompt resolution of disputes over confidentiality of discovery materials, to
  13   adequately protect information the parties are entitled to keep confidential, to
  14   ensure that the parties are permitted reasonable necessary uses of such material in
  15   preparation for and in the conduct of trial, to address their handling at the end of
  16   the litigation, and serve the ends of justice, a protective order for such information
  17
       is justified in this matter. It is the intent of the parties that information will not be
  18
       designated as confidential for tactical reasons and that nothing be so designated
  19
       without a good faith belief that it has been maintained in a confidential, non-public
  20
       manner, and there is good cause why it should not be part of the public record of
  21
       this case.
  22
  23
       2.     DEFINITIONS
  24
              2.1   Action: Beverly Dantzler v. PHH Mortgage Corporation d/b/a PHH
  25
       Mortgage Services, No. 2:23-cv-10562-SRM (MARx).
  26
              2.2    Challenging Party: a Party or Non-Party that challenges the
  27
       designation of information or items under this Order.
  28


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   1          2.3    “CONFIDENTIAL” Information or Items: information (regardless of

   2   how it is generated, stored or maintained) or tangible things that qualify for
   3   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
   4   the Good Cause Statement.
   5          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
   6   their support staff).
   7          2.5    Designating Party: a Party or Non-Party that designates information
   8   or items that it produces in disclosures or in responses to discovery as
   9   “CONFIDENTIAL.”
  10          2.6    Disclosure or Discovery Material: all items or information,
  11   regardless of the medium or manner in which it is generated, stored, or maintained
  12   (including, among other things, testimony, transcripts, and tangible things), that
  13   are produced or generated in disclosures or responses to discovery in this matter.
  14          2.7    Expert: a person with specialized knowledge or experience in a
  15   matter pertinent to the litigation who has been retained by a Party or its counsel to
  16   serve as an expert witness or as a consultant in this Action.
  17
              2.8    House Counsel: attorneys who are employees of a party to this Action.
  18
       House Counsel does not include Outside Counsel of Record or any other outside
  19
       counsel.
  20
              2.9   Non-Party: any natural person, partnership, corporation, association,
  21
       or other legal entity not named as a Party to this action.
  22
             2.10 Outside Counsel of Record: attorneys who are not employees of a
  23
       party to this Action but are retained to represent or advise a party to this Action
  24
       and have appeared in this Action on behalf of that party or are affiliated with a law
  25
       firm which has appeared on behalf of that party, and includes support staff.
  26
  27
  28


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   1         2.11 Party: any party to this Action, including all of its officers, directors,

   2   employees, consultants, retained experts, and Outside Counsel of Record (and
   3   their support staffs).
   4         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
   5   Discovery Material in this Action.
   6         2.13 Professional Vendors: persons or entities that provide litigation
   7   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
   8   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   9   and their employees and subcontractors.
  10         2.14 Protected Material: any Disclosure or Discovery Material that is
  11   designated as “CONFIDENTIAL.”
  12          2.15 Receiving Party: a Party that receives Disclosure or Discovery
  13   Material from a Producing Party.
  14
  15   3.   SCOPE
  16         The protections conferred by this Stipulation and Order cover not only
  17
       Protected Material (as defined above), but also (1) any information copied or
  18
       extracted from Protected Material; (2) all copies, excerpts, summaries, or
  19
       compilations of Protected Material; and (3) any testimony, conversations, or
  20
       presentations by Parties or their Counsel that might reveal Protected Material.
  21
             Any use of Protected Material at trial will be governed by the orders of the
  22
       trial judge. This Order does not govern the use of Protected Material at trial.
  23
  24
       4.    DURATION
  25
             Even after final disposition of this litigation, the confidentiality obligations
  26
       imposed by this Order will remain in effect until a Designating Party agrees
  27
       otherwise in writing or a court order otherwise directs. Final disposition will be
  28


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   1   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with

   2   or without prejudice; and (2) final judgment herein after the completion and
   3   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
   4   including the time limits for filing any motions or applications for extension of time
   5   pursuant to applicable law.
   6
   7   5.    DESIGNATING PROTECTED MATERIAL
   8         5.1      Exercise of Restraint and Care in Designating Material for Protection.
   9   Each Party or Non-Party that designates information or items for protection under
  10   this Order must take care to limit any such designation to specific material that
  11   qualifies under the appropriate standards. The Designating Party must designate
  12   for protection only those parts of material, documents, items, or oral or written
  13   communications that qualify so that other portions of the material, documents,
  14   items, or communications for which protection is not warranted are not swept
  15   unjustifiably within the ambit of this Order.
  16         Mass, indiscriminate, or routinized designations are prohibited. Designations
  17
       that are shown to be clearly unjustified or that have been made for an improper
  18
       purpose (e.g., to unnecessarily encumber the case development process or to
  19
       impose unnecessary expenses and burdens on other parties) may expose the
  20
       Designating Party to sanctions.
  21
             If it comes to a Designating Party’s attention that information or items that it
  22
       designated for protection do not qualify for protection, that Designating Party must
  23
       promptly notify all other Parties that it is withdrawing the inapplicable
  24
       designation.
  25
             5.2      Manner and Timing of Designations. Except as otherwise provided in
  26
       this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  27
       stipulated or ordered, Disclosure or Discovery Material that qualifies for
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   1   protection under this Order must be clearly so designated before the material is

   2   disclosed or produced.
   3         Designation in conformity with this Order requires:
   4          (a) for information in documentary form (e.g., paper or electronic
   5   documents, but excluding transcripts of depositions or other pretrial or trial
   6   proceedings), that the Producing Party affix at a minimum, the legend
   7   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
   8   contains protected material. If only a portion or portions of the material on a page
   9   qualifies for protection, the Producing Party also must clearly identify the
  10   protected portion(s) (e.g., by making appropriate markings in the margins).
  11         A Party or Non-Party that makes original documents available for inspection
  12   need not designate them for protection until after the inspecting Party has indicated
  13   which documents it would like copied and produced. During the inspection and
  14   before the designation, all of the material made available for inspection will be
  15   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  16   documents it wants copied and produced, the Producing Party must determine which
  17
       documents, or portions thereof, qualify for protection under this Order. Then,
  18
       before producing the specified documents, the Producing Party must affix the
  19
       “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
  20
       portion or portions of the material on a page qualifies for protection, the Producing
  21
       Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  22
       markings in the margins).
  23
             (b) for testimony given in depositions that within thirty (30) days after
  24
       receiving the final transcript, the Designating Party identify the
  25
       “CONFIDENTIAL” Information or Items or other protected testimony in writing
  26
       with page and line designations provided to the other Party and the court report.
  27
             (c) for information produced in some form other than documentary and for
  28


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   1   any other tangible items, that the Producing Party affix in a prominent place on the

   2   exterior of the container or containers in which the information is stored the legend
   3   “CONFIDENTIAL.” If only a portion or portions of the information warrants
   4   protection, the Producing Party, to the extent practicable, will identify the
   5   protected portion(s).
   6         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
   7   failure to designate qualified information or items does not, standing alone, waive
   8   the Designating Party’s right to secure protection under this Order for such
   9   material. Mere failure to diligently screen documents before producing them does
  10   not waive a claim of confidentiality or the right to designate qualified information
  11   or items under this Order. Upon timely correction of a designation, the Receiving
  12   Party must make reasonable efforts to assure that the material is treated in
  13   accordance with the provisions of this Order.
  14
  15   6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  16         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
  17
       designation of confidentiality at any time that is consistent with the Court’s
  18
       Scheduling Order.
  19
             6.2 Meet and Confer. The Challenging Party will initiate the dispute
  20
       resolution process under Local Rule 37.1 et seq.
  21
             6.3 The burden of persuasion in any such challenge proceeding will be on
  22
       the Designating Party. Frivolous challenges, and those made for an improper
  23
       purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  24
       parties) may expose the Challenging Party to sanctions. Unless the Designating
  25
       Party has waived or withdrawn the confidentiality designation, all parties will
  26
       continue to afford the material in question the level of protection to which it is
  27
       entitled under the Producing Party’s designation until the Court rules on the
  28


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   1   challenge.

   2
   3   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
   4         7.1    Basic Principles. A Receiving Party may use Protected Material that
   5   is disclosed or produced by another Party or by a Non-Party in connection with
   6   this Action only for prosecuting, defending, or attempting to settle this Action.
   7   Such Protected Material may be disclosed only to the categories of persons and
   8   under the conditions described in this Order. When the Action has been
   9   terminated, a Receiving Party must comply with the provisions of section 13
  10   below (FINAL DISPOSITION).
  11         Protected Material must be stored and maintained by a Receiving Party at a
  12   location and in a secure manner that ensures that access is limited to the persons
  13   authorized under this Order.
  14         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless
  15   otherwise ordered by the court or permitted in writing by the Designating Party, a
  16   Receiving Party may disclose any information or item designated
  17
       “CONFIDENTIAL” only to:
  18
             (a) the Receiving Party’s Outside Counsel of Record in this Action, as
  19
       well as employees of said Outside Counsel of Record to whom it is reasonably
  20
       necessary to disclose the information for this Action;
  21
             (b) the officers, directors, and employees (including House Counsel) of
  22
        the Receiving Party to whom disclosure is reasonably necessary for this Action;
  23
             (c) Experts (as defined in this Order) of the Receiving Party to whom
  24
       disclosure is reasonably necessary for this Action and who have signed the
  25
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  26
             (d) the Court and its personnel;
  27
             (e) court reporters and their staff;
  28


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   1         (f) professional jury or trial consultants, mock jurors, and Professional

   2   Vendors to whom disclosure is reasonably necessary for this Action and who have
   3   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4         (g) the author or recipient of a document containing the information or a
   5   custodian or other person who otherwise possessed or knew the information;
   6         (h) during their depositions, witnesses, and attorneys for witnesses, in the
   7   Action to whom disclosure is reasonably necessary provided: (1) the deposing
   8   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
   9   they will not be permitted to keep any confidential information unless they sign the
  10   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  11   agreed by the Designating Party or ordered by the court. Pages of transcribed
  12   deposition testimony or exhibits to depositions that reveal Protected Material may
  13   be separately bound by the court reporter and may not be disclosed to anyone
  14   except as permitted under this Stipulated Protective Order;
  15         (i) any mediator or settlement officer, and their supporting personnel,
  16   mutually agreed upon by any of the parties engaged in settlement discussions; and
  17
             (j) any other persons that all parties have agreed to in advance in writing.
  18
  19
       8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  20
       IN OTHER LITIGATION
  21
             If a Party is served with a subpoena or a court order issued in other litigation
  22
       that compels disclosure of any information or items designated in this Action as
  23
       “CONFIDENTIAL,” that Party must:
  24
                    (a) promptly notify in writing the Designating Party. Such notification
  25
       will include a copy of the subpoena or court order;
  26
                    (b) promptly notify in writing the party who caused the subpoena or
  27
       order to issue in the other litigation that some or all of the material covered by the
  28


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   1   subpoena or order is subject to this Protective Order. Such notification will include

   2   a copy of this Stipulated Protective Order; and
   3                  (c) cooperate with respect to all reasonable procedures sought to be
   4   pursued by the Designating Party whose Protected Material may be affected.
   5         If the Designating Party timely seeks a protective order, the Party served
   6   with the subpoena or court order will not produce any information designated in
   7   this action as “CONFIDENTIAL” before a determination by the court from which
   8   the subpoena or order issued, unless the Party has obtained the Designating Party’s
   9   permission. The Designating Party will bear the burden and expense of seeking
  10   protection in that court of its confidential material and nothing in these provisions
  11   should be construed as authorizing or encouraging a Receiving Party in this Action
  12   to disobey a lawful directive from another court.
  13
  14   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  15   PRODUCED IN THIS LITIGATION
  16             (a) The terms of this Order are applicable to information produced by a
  17
       Non-Party in this Action and designated as “CONFIDENTIAL.” Such
  18
       information produced by Non-Parties in connection with this litigation is protected
  19
       by the remedies and relief provided by this Order. Nothing in these provisions
  20
       should be construed as prohibiting a Non-Party from seeking additional
  21
       protections.
  22
                 (b) In the event that a Party is required, by a valid discovery request, to
  23
       produce a Non-Party’s confidential information in its possession, and the Party is
  24
       subject to an agreement with the Non-Party not to produce the Non-Party’s
  25
       confidential information, then the Party will:
  26
                      (1) promptly notify in writing the Requesting Party and the Non-Party
  27
       that some or all of the information requested is subject to a confidentiality
  28


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   1   agreement with a Non-Party;

   2               (2) promptly provide the Non-Party with a copy of the Stipulated
   3   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   4   specific description of the information requested; and
   5               (3) make the information requested available for inspection by the
   6   Non-Party, if requested.
   7         (c) If the Non-Party fails to seek a protective order from this court within 14
   8   days of receiving the notice and accompanying information, the Receiving Party
   9   may produce the Non-Party’s confidential information responsive to the discovery
  10   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  11   not produce any information in its possession or control that is subject to the
  12   confidentiality agreement with the Non-Party before a determination by the court.
  13   Absent a court order to the contrary, the Non-Party shall bear the burden and
  14   expense of seeking protection in this court of its Protected Material.
  15
  16   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  17
             If a Receiving Party learns that, by inadvertence or otherwise, it has
  18
       disclosed Protected Material to any person or in any circumstance not authorized
  19
       under this Stipulated Protective Order, the Receiving Party must immediately (a)
  20
       notify in writing the Designating Party of the unauthorized disclosures, (b) use its
  21
       best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
  22
       the person or persons to whom unauthorized disclosures were made of all the
  23
       terms of this Order, and (d) request such person or persons to execute the
  24
       “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
  25
       A.
  26
  27
       11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  28


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   1   PROTECTED MATERIAL

   2         In the event that any party (the “Disclosing Party”) produces material or
   3   documents without intending to waive a claim of privilege or other protection or
   4   immunity from discovery, the Disclosing Party does not waive any claim of
   5   privilege, protection, or immunity. Mere failure to diligently screen documents
   6   before producing them does not waive a claim of privilege, protection, or
   7   immunity. The inadvertent or unintentional production of information subject to
   8   attorney-client privilege, work product immunity, or other applicable privilege,
   9   protection, or immunity from discovery will not be deemed to constitute a waiver
  10   of such privilege, protection, or immunity, in this Court or any other state or
  11   federal court, in whole or in part. If the Disclosing Party or non-party produces
  12   information without intending to waive a claim of privilege, it shall, within a
  13   reasonable time after discovering such inadvertent disclosure, notify the Receiving
  14   Party of its claim of privilege. After being so notified, the Receiving Party shall
  15   promptly return or destroy the specified information and any copies thereof. If the
  16   Receiving Party chooses to destroy the specified information pursuant to the terms
  17
       of this provision, confirmation of such destruction shall be promptly provided to
  18
       the Disclosing Party.
  19
             In the event that the Receiving Party contends the documents are not subject
  20
       to privilege as asserted by the Disclosing Party, the Receiving Party may,
  21
       following the return and destruction described herein, challenge the privilege
  22
       claim through a Motion to Compel or other pleading with the Court. The parties
  23
       agree that any review of items by the judge shall be an in camera review. Should
  24
       the Receiving Party not challenge the Disclosing Party’s claim of privilege, or
  25
       should the presiding judge determine that the documents are in fact subject to
  26
       privilege, the documents, or information contained therein or derived therefrom,
  27
  28


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   1   may not be used in the Litigation or against the Disclosing Party in any future

   2   litigation or arbitration brought by the Receiving Party.
   3         If a Receiving Party receives information from the other party that it
   4   believes to be privileged, it shall, within seven (7) business days of discovering
   5   such inadvertent disclosure, notify the Disclosing Party of its inadvertent
   6   production. If, after the Receiving Party provides such notification, the Disclosing
   7   Party confirms that the information is privileged, the Receiving Party shall
   8   promptly return or destroy the specified information and any copies thereof. If the
   9   Receiving Party chooses to destroy the specified information pursuant to the terms
  10   of this provision, confirmation of such destruction shall be promptly provided to
  11   the Disclosing Party.
  12         Any document(s) produced inadvertently and subject to the claw back
  13   provisions of this Stipulated Protective Order shall remain privileged and
  14   confidential, for all purposes and as to all persons and entities whatsoever, in this
  15   or any other litigation and in this or any other state or federal court, as if no such
  16   inadvertent disclosure had occurred, to the fullest extent permitted by Federal Rule
  17
       of Evidence 502, the Federal Rules of Civil Procedure, and the law under which
  18
       such privilege or confidentiality was created.
  19
  20
       12.   MISCELLANEOUS
  21
             12.1 Right to Further Relief. Nothing in this Order abridges the right of
  22
       any person to seek its modification by the Court in the future.
  23
             12.2 Right to Assert Other Objections. By stipulating to the entry of this
  24
       Protective Order no Party waives any right it otherwise would have to object to
  25
       disclosing or producing any information or item on any ground not addressed in
  26
       this Stipulated Protective Order. Similarly, no Party waives any right to object on
  27
  28


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   1   any ground to use in evidence of any of the material covered by this Protective

   2   Order.
   3         12.3 Filing Protected Material. A Party that seeks to file under seal any
   4   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   5   only be filed under seal pursuant to a court order authorizing the sealing of the
   6   specific Protected Material at issue. If a Party’s request to file Protected Material
   7   under seal is denied by the court, then the Receiving Party may file the information
   8   in the public record unless otherwise instructed by the court.
   9
  10   13.   FINAL DISPOSITION
  11         After the final disposition of this Action, as defined in paragraph 4, within
  12   60 days of a written request by the Designating Party, each Receiving Party must
  13   return all Protected Material to the Producing Party or destroy such material. As
  14   used in this subdivision, “all Protected Material” includes all copies, abstracts,
  15   compilations, summaries, and any other format reproducing or capturing any of the
  16   Protected Material. Whether the Protected Material is returned or destroyed, the
  17
       Receiving Party must submit a written certification to the Producing Party (and, if
  18
       not the same person or entity, to the Designating Party) by the 60 day deadline that
  19
       (1) identifies (by category, where appropriate) all the Protected Material that was
  20
       returned or destroyed and (2) affirms that the Receiving Party has not retained any
  21
       copies, abstracts, compilations, summaries or any other format reproducing or
  22
       capturing any of the Protected Material. Notwithstanding this provision, Counsel
  23
       are entitled to retain an archival copy of all pleadings, motion papers, trial,
  24
       deposition, and hearing transcripts, legal memoranda, correspondence, deposition
  25
       and trial exhibits, expert reports, attorney work product, and consultant and expert
  26
       work product, even if such materials contain Protected Material. Any such
  27
  28


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   1   archival copies that contain or constitute Protected Material remain subject to this

   2   Protective Order as set forth in Section 4 (DURATION).
   3
   4   14.   Any willful violation of this Order may be punished by civil or criminal
   5   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
   6   authorities, or other appropriate action at the discretion of the Court.
   7
   8
       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

   9
  10
       DATED: April 4, 2025                           /s/ Scott C. Harris
                                                      Scott C. Harris (Admitted pro hac
  11                                                  vice)
  12                                                  MILBERG COLEMAN BRYSON
                                                      PHILLIPS GROSSMAN, PLLC
  13                                                  900 W. Morgan Street
  14                                                  Raleigh, NC 27603
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                                    #:541



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  24                                             Mortgage Corp. d/b/a PHH Mortgage
  25                                             Services

  26
  27   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  28


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              4/17/2025
       DATED: ____________                  _________________________
   1
                                            HON. MARGO A. ROCCONI
   2                                        United States Magistrate Judge
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   1                               EXHIBIT A
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   2
   3           I,                                     [print or type full name], of
   4                          [print or type full address], declare under penalty of perjury
   5   that I have read in its entirety and understand the Stipulated Protective Order that
   6   was issued by the United States District Court for the Central District of
   7   California on               [date] in the case of Beverly Dantzler v. PHH
   8   Mortgage Corporation d/b/a PHH Mortgage Services, Case No. 2:23-cv-10562-
   9   SRM (MARx) I agree to comply with and to be bound by all the terms of this
  10   Stipulated Protective Order and I understand and acknowledge that failure to so
  11   comply could expose me to sanctions and punishment in the nature of contempt.
  12
       I solemnly promise that I will not disclose in any manner any information or item
  13
       that is subject to this Stipulated Protective Order to any person or entity except in
  14
       strict compliance with the provisions of this Order. I further agree to submit to
  15
       the jurisdiction of the United States District Court for the Central District of
  16
       California for the purpose of enforcing the terms of this Stipulated Protective
  17
       Order, even if such enforcement proceedings occur after termination of this
  18
       action. I hereby appoint               [print or type full name] of            [print
  19
       or type full address and telephone number] as my California agent for service of
  20
       process in connection with this action or any proceedings related to enforcement
  21
       of this Stipulated Protective Order.
  22
  23   Date:
  24   City and State where signed:
  25   Printed name:
  26   Signature:
  27
  28


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